
CAVANAGH, J.
(concurring with part of the result and dissenting in part). I concur with the result reached by the majority with respect to count I of the petition. However, I respectfully dissent from the majority’s *387position regarding count II. Petitioners allege that respondent Farmers Insurance Exchange sought to reduce the use of chiropractic services by improperly limiting access to chiropractic providers and by improperly determining rates to be paid to chiropractic providers, contrary to the no-fault act. See MCL 500.3107(l)(a); MCL 500.3157. Because I believe these allegations are sufficient to confer standing on petitioners to pursue count II, I disagree with the majority’s decision to not reach the merits of petitioners’ claim.
